Case 3:16-md-02738-MAS-RLS Document 22173 Filed 06/02/21 Page 1 of 2 PageID: 142747




                             UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON “BABY
    POWDER” and “SHOWER TO SHOWER”
    MARKETING, SALES PRACTICES AND
    PRODUCTS LIABILITY LITIGATION
                                                                 MDL NO. 2738 (FLW) (LHG)
    THIS DOCUMENT RELATES TO:

    Shelia Roy vs. Johnson & Johnson, et al.
    Case No.: 3:21-cv-9103-FLW-LHG




                                          NOTICE OF FILING

           Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

    Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

    Shelia Roy.

           This 2nd day of June 2021.

                                                      Respectfully submitted,

                                                      ONDERLAW, LLC

                                               By:    /s/ W. Wylie Blair
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Case 3:16-md-02738-MAS-RLS Document 22173 Filed 06/02/21 Page 2 of 2 PageID: 142748




                                         Certificate of Service

           The undersigned hereby certifies that this document was filed and electronically served by
    way of the Court’s electronic filing system this 2nd day of June 2021.


                                                        /s/ W. Wylie Blair
